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                              UNITED STATES DISTRICT COURT                        OCT 05 2010
                               DISTRICT OF SOUTH DAKOTA
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                                   SOUTHERN DIVISION                              ~~~
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 UNITED STATES OF AMERICA,           *     CR 09-40 I05-07
                                     *
             Plaintiff,              *
                                     *
       vs.                           *               ORDER
                                     *
 ANDREW MARCO, alk/a Andy,           *
                                     *
             Defendant..             *
                                     *
 ******************************************************************************
        Pending before the Court is the Defendant's Plea Agreement, Factual Basis Statement, and
 Supplement to Plea Agreement. A hearing to take the plea was held before the Magistrate Judge on
 September 13, 20 I0, and Judge Simko issued a Report and Recommendation accepting the plea, and
 recommending to this Court that the Defendant be adjudged guilty as charged in the Second
 Superseding Indictment with Conspiracy to Distribute a Controlled Substance in violation of 21
 U.S.C. §§ 841 (a)(l) and 846. After a careful review ofthe file, and the parties having waived their
 right to object to the Report and Recommendation,
        IT IS ORDERED:

        I.      That the Magistrate Judge's Report and Recommendation is ADOPTED by
                the Court, and the Defendant Andrew Marco, alk/a Andy, is adjudged guilty.
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        Dated this ~ - day of October, 2010.

                                               BY THE COURT:


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                                                awrence L. Piersol
 ATTEST:                                       United States District Judge
 JOSEPH HAAS, CLERK

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